
Upon consideration of the petition filed by Defendant (Travelers Casualty &amp; Surety) on the 9th of December 2014 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 20th of August 2015."
Upon consideration of the petition filed on the 9th of December 2014 by Defendant (Travelers Casualty &amp; Surety) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 20th of August 2015."
